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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA


Paula Dare,                                                   Case No.: _____________

                Plaintiff,
                                                                NOTICE OF REMOVAL
vs.
                                                                (Jury Trial Demanded)
Menard, Inc.

                Defendant.


TO:     THE CLERK OF THE ABOVE-ENTITLED COURT AND PLAINTIFF AND HER ATTORNEY, D.
        PATRICK McCULLOUGH, McCULLOUGH & ASSOCIATES, PA., 905 PARKWAY DRIVE, ST.
        PAUL, MN 55117:

        PLEASE TAKE NOTICE, that Defendant Menard, Inc. hereby removes to this Court the

state action described below.

I.     On October 27, 2020, an action was commenced as to Menard, Inc. in the Tenth

       Judicial District, Sherburne County, Minnesota, entitled Paula Dare v. Menard, Inc.,

       Case No. (case has not been filed).

II.    Defendant Menard, Inc. was served with the attached Summons and Complaint on

       October 27, 2020. This Notice is timely.

III.   A copy of all process, pleadings, and orders served upon Defendant in the state court

       action are attached hereto as Exhibit A (Summons and Complaint).

IV.    This action is a civil action of which this Court has original jurisdiction under 28 U.S.C.

       §1332, and is one which may be removed to this Court by said Defendant pursuant to

       the provisions of 28 U.S.C. §1441 (a), because it is a civil action between citizens of

       different states and the matter and controversy exceeds the sum of $75,000,
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      exclusive of interest and costs.    The undersigned has confirmed with counsel for

      Plaintiff that the amount in controversy exceeds the sum of $75,000.

V.    Defendant is informed and believes that Plaintiff is a citizen of the State of Minnesota.

      Defendant Menard, Inc. is incorporated in and has its principal place of business in the

      State of Wisconsin.

VI.   Based upon the foregoing, Defendant Menard, Inc. requests that this action be

      removed to the United States District Court for the District of Minnesota.


Dated this 13th day of November, 2020.

                                            McCOLLUM CROWLEY P.A.

                                            /s/ Robert L. McCollum
                                            Robert L. McCollum (ID #69802)
                                            Attorneys for Defendant
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                                            Minneapolis, MN 55431
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